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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                                 Plaintiffs,

            v.

ELISABETH D. DEVOS, in her official capacity as             Civil Action No. 20-cv-01468-CJN
Secretary of Education, et al.,

                                Defendants,

            and

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al.,

                               Intervenor-Defendants.




  PLAINTIFFS’ OPPOSITION TO MOTION FOR LEAVE TO TAKE DEPOSITIONS

       Intervenors asked to participate in this case so that they could “offer a perspective on the

First and Fourteenth Amendments that will otherwise not be represented.” Mot. to Intervene

(Dkt. No. 27) at 2 (June 25, 2020). In making this request, they promised that their participation

would “not slow this case down at all” and further “pledge[d] to focus their briefs on their own

unique defenses and not duplicate Defendants’ arguments.” Id. at 16; Reply Br. (Dkt. No. 52) at

2 (July 3, 2020). The Court acknowledged their representations in exercising its discretion to

grant permissive intervention, stating that “because Movants will follow the deadlines that

govern Defendants, their intervention will not unduly delay or prejudice Plaintiffs’ rights.”

Minute Order (July 6, 2020).

       Despite their prior statements, Intervenors have now made a last-minute request to take

depositions of six of Plaintiffs’ declarants before Friday’s preliminary injunction hearing. Mot. to

take Depositions (Dkt. No. 76) at 1 (July 15, 2020) (“Mot.”). The declarants that Intervenors

seek to depose are all higher education officials who describe, among other things, the significant
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efforts schools will be required to make to change their policies, train their staff, revise materials,

and educate their communities to comply with the Rule by the August 14, 2020, effective date.

Pls. Mem. (Dkt. No. 22-2) at 11-12 (June 23, 2020). Intervenors offer no explanation for their

failure to mention the need for depositions in their motion to intervene or in their two subsequent

filings in this case, nor do they attempt to reconcile their earlier commitments with this latest

request. And they do not establish a plausible need for depositions in any event: the only

justification they offer is a vague desire to “test the veracity” of the declarations. Id. at 2. But

having been allowed to intervene based on the representation that they would “not slow this case

down at all,” Intervenors should not now be permitted to go on a last-minute fishing expedition

that will unduly delay these proceedings and prejudice Plaintiffs, including by inhibiting their

ability to prepare for the upcoming hearing on Plaintiffs’ motion for preliminary injunction or

§ 705 stay. The motion should be denied.

                                            DISCUSSION

        1.      Intervenors first moved to participate in this case after Plaintiffs had filed their

motion for preliminary injunction or § 705 stay. At the time, they argued that their intervention

was necessary to “advance a legal theory that the Department of Education will not: that many of

the rule’s protections for college students are not just reasonable policy decisions—they are

constitutionally required.” Dkt. No. 27 at 1-2. They stressed they would agree to “follow

whatever briefing schedule governs Defendants.” Id. at 16. Nowhere in their brief or subsequent

reply did Intervenors indicate that they wished to contest Plaintiffs’ arguments with respect to the

Rule’s effective date, nor did they suggest that they wished to take depositions of any of

Plaintiffs’ declarants. Rather, they “pledge[d] to focus their briefs on their own unique defenses

and not duplicate Defendants’ arguments.” Dkt. No. 52 at 2.

        Intervenors’ current request to take depositions, however, is inconsistent with the

schedule set by the Court and will result in prejudice to both Plaintiffs and Defendants. The

Court’s briefing schedule did not contemplate discovery before a hearing on Plaintiffs’ motion,

and no party had previously indicated a desire to take depositions. Intervenors’ request would


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require Plaintiffs to devote their time and attention to preparing for and defending six

depositions, just days before the scheduled hearing on their injunction motion. Intervenors

previously denied that their participation in this action would prejudice Plaintiffs, asserting that

they “ha[d] worked diligently not to slow down this case whatsoever,” id. at 2, and that they

would “follow the same deadlines that govern Defendants—including the July 8 deadline for

oppositions to Plaintiffs’ preliminary-injunction motion,” id. at 8. But the prejudice from this

last-minute request is unmistakable.

        Furthermore, since Intervenors’ motion was filed after briefing on Plaintiffs’ motion was

complete, it too late for the parties to address any deposition testimony in their written

submissions. Depositions at this stage, even if otherwise appropriate, would therefore be of

limited utility. Intervenors could have stated upfront in their motion to intervene that they wished

to depose some of Plaintiffs’ declarants, but they did not do so. And nothing in their latest

motion excuses this failure or explains why conducting depositions after briefing on Plaintiffs’

motion is complete would be a fruitful exercise.

        2.      Under this Court’s Local Rules, the practice “is to decide preliminary injunction

motions without live testimony where possible.” Local Rule 65.1(d). And “[n]o evidentiary

hearing is required [on a preliminary injunction motion] where there is no serious dispute as to

the facts or where there is little dispute as to the facts but significant dispute as to the inferences

to be drawn from those facts; it is only where substantial questions of fact are in sharp dispute

that an evidentiary hearing is required.” SEC v. Gen. Refractories Co., 400 F. Supp. 1248, 1256

(D.D.C. 1975) (citing SEC v. Frank, 388 F.2d 486 (2d Cir. 1968)). What is more, where a

genuine dispute of material fact exists, it should be “raised in opposition to a motion for

preliminary injunction,” in order to override the general rule of this Circuit that “[a] preliminary

injunction may be granted based on less formal procedures and on less extensive evidence than

in a trial on the merits.” Corbell v. Norton, 391 F.3d 251, 261 (D.C. Cir. 2004).

        Nothing in Intervenors’ motion shows that “substantial questions of fact are in sharp

dispute” such that an evidentiary hearing is warranted—much less that their belated request to


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conduct depositions beforehand should be granted. By their own admission, Intervenors seek

only to “test the veracity” of certain statements relating to Plaintiffs’ challenge to the Rule’s

effective date. Mot. at 2. Given that Defendants have disputed Plaintiffs’ challenge to the

effective date, Intervenors’ request cannot be squared with their “pledge to focus their briefs on

their own unique defenses and not duplicate Defendants’ arguments.” Dkt. No. 52, at 2.

Regardless, their latest motion fails to put forward any evidence actually calling into question the

statements made by Plaintiffs’ declarants.

       Intervenors’ opposition to Plaintiffs’ motion for preliminary injunction or stay similarly

fails to establish that an evidentiary hearing would be warranted. The only evidence offered by

Intervenors in connection with that opposition is: (1) a public comment submitted by Intervenor

FIRE in response to the Department’s proposed Title IX Rule, see Appx. to Intvrs. Mem. in Opp.

(Dkt. No. 64-1) Ex. 1 (July 8, 2020); (2) public statements from ten colleges and universities,

only four of which are in Plaintiff States, id. Ex. 2-4, 6-12; (3) a news article about South

Dakota, which is not a plaintiff, id. Ex. 5; and (4) a declaration from Patricia Hamill, a partner at

the law firm of Conrad O’Brien, id. Ex. 13.

       The statements from the four colleges and universities in Plaintiff States further support

Plaintiffs’ showing of irreparable harm, as they describe the extensive efforts that schools are

making in order to comply with the Rule’s requirements by the effective date, including creating

a repository of resources, holding community forums, and reviewing state laws. Id. Ex. 2, 8, 10,

11. For example, the University of Minnesota details the multiple factors that must be taken into

account and the stakeholders that must be consulted in order to update its policies. Id. Ex. 2. The

University of Washington expressed its wish that the Department had taken more of the feedback

that it and others had provided and allowed it to maintain current policies, but says that it is

working to implement the new regulations. It also states that it is providing public information to

its community about how the Rule that runs “more than 2,000 pages” affects them, and providing

an opportunity for community input. Id. Ex. 11. That colleges and universities have publicly

committed to complying with a federal regulation (on which their federal funding depends) does


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not show that mandating compliance on this timeframe—in less than three months, during a

global pandemic, when key stakeholders are absent from campus, and when shared governance

systems cannot operate—is not arbitrary and capricious, or that it will not be costly, burdensome,

or otherwise cause irreparable harm. See Pls. Mem. 8-13.

       Similarly, none of the points in Ms. Hamill’s declaration dispute Plaintiffs’ arguments

that the arbitrary date for implementation of the Rule during the COVID-19 crisis is not

supported by a well-reasoned justification and will otherwise cause States irreparable harm. The

declaration avers that (1) COVID-19 has led to a reduction in “outreach and referrals concerning

possible representations of students in campus disciplinary proceedings,” Hamill Decl. ¶¶ 4-6,

and (2) “COVID-19 caused few if any delays in pending university sexual misconduct

disciplinary proceedings” because “university administrators simply moved interviews and

hearings that would have otherwise taken place in person to Zoom or other videoconferencing

platforms,” Hamill Decl. ¶ 7. Neither statement suggests that that Rule will not impose

irreparable harm, especially because the latter statement applies to university policies and

procedures currently in place, not the policies and procedures schools must adopt to comply with

the new Title IX Rule.

       3.      Finally, Intervenors’ reliance on In re Fannie Mae Derivative Litig., 227 F.R.D.

142 (D.D.C. 2005), is misplaced. Even if the “reasonableness” test set forth in that case is

assumed to apply, Intervenors fall well short. Here, the preliminary injunction hearing is mere

days away, the requests require extensive time and effort by Plaintiffs to prepare for and defend

depositions of six declarants, the depositions are unlikely to produce factual information that will

assist the Court in deciding on Plaintiffs’ motion (and would occur too late to be addressed in

briefing), and the request was made at the last minute and after Intervenors had multiple

opportunities to notify the Court and the parties of their desire to take discovery. Intervenors’

claim that “[n]ormal discovery” is “not that far away,” Mot. 2, ignores the fact that this case

involves judicial review of agency action under the APA. See Friends of the Earth v. U.S. Dep’t

of Interior, 236 F.R.D. 39, 42 (D.D.C. 2006) (denying plaintiff’s request to take deposition


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because “[i]n this Circuit, discovery is normally unavailable in an APA case, except where there

has been a strong showing of bad faith or improper behavior or when the record is so bare that it

prevents effective judicial review.”) (citing Commercial Drapery Contractors, Inc. v. United

States, 133 F.3d 1, 7 (D.C. Cir. 1998)). Evaluating the “reasonableness of the request in light of

all of the surrounding circumstances” thus makes clear that Intervenors have not shown that their

request to take depositions prior to Friday’s hearing is justified. Fannie Mae, 227 F.R.D. at 142

(citation and internal quotation marks omitted).




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                                        CONCLUSION
      The motion to take depositions should be denied.

Dated: July 20, 2020                          Respectfully submitted,

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